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 8                                UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    APPLE HILL GROWERS,                               No. 2:17–cv–02085–TLN–CKD

12                       Plaintiff/Counter-
                         Defendant,
13                                                      ORDER
             v.
14                                                      (ECF No. 32)
      EL DORADO ORCHARDS, INC., et al.,
15
                         Defendants/Counter-
16                       Claimant.
17

18          Presently before the court is plaintiff / counter-defendant Apple Hill Growers’ motion to

19   compel certain discovery responses and production from defendant / counter-claimant Mason

20   Visman. (ECF No. 32.) Upon reviewing the Joint Statement regarding the discovery

21   disagreement, filed January 5, 2022 (ECF No. 33), it appears likely that the parties will be able to

22   resolve their discovery dispute without judicial intervention. The court strongly encourages them

23   to endeavor to do so.

24          The parties’ stipulation to extend the fact-discovery deadline, attached to the Joint

25   Statement (ECF No. 33.1), is a promising step in the right direction. The court hereby approves

26   the stipulated extension—which does not affect the previously set dispositive motions or trial

27   deadlines.

28   ////
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 1             The court will take plaintiff’s motion to compel under submission in hopes that the parties

 2   independently resolve the dispute and will require the parties to update the court on the status of

 3   the dispute as they proceed. Based on defense counsel’s representation that he will “try to

 4   provide” the subject discovery responses and production by January 15, 2022 (ECF No. 33 at 5),

 5   the parties shall file a supplemental joint statement regarding the status of the discovery dispute

 6   no later than January 19, 2022. Should the parties reach a resolution of the motion, plaintiff shall

 7   so state in the supplemental joint statement or shall withdraw the motion to compel.

 8                                                      ORDER

 9             It is HEREBY ORDERED that:

10             1. Plaintiff’s motion to compel (ECF No. 32) is taken under submission, and the hearing

11                   on the motion currently set for January 12, 2022 is VACATED;

12             2. The court APPROVES the parties’ stipulation (ECF No. 33.1) and extends the

13                   deadline for fact discovery to May 2, 2022. All other dates and deadlines in the

14                   Scheduling Order (ECF No. 29) remain unchanged; and

15             3. No later than January 19, 2022, the parties shall file a supplemental joint statement

16                   regarding the status of the present discovery dispute, or plaintiff shall file a notice of

17                   withdrawal of the motion to compel.

18   Dated: January 7, 2022
                                                            _____________________________________
19
                                                            CAROLYN K. DELANEY
20                                                          UNITED STATES MAGISTRATE JUDGE

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23   19, appl.2085

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